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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 JOAN CIMO, individually,

       Plaintiff,

 v.

 AMERICAN CORADIUS INTERNATIONAL, LLC,
 a foreign limited liability company,

      Defendant.
 _________________________________________/

        COMPLAINT FOR VIOLATIONS OF 15 U.S.C. § 1692 et seq.,
           THE FAIR DEBT COLLECTION PRACTICES ACT
                        JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. § 1692 et seq. (“FDCPA”). Simply put, in its telephonic efforts to collect a

 consumer debt from Plaintiff, Defendant failed to disclose the purpose of its call to

 Plaintiff as well as its identity as a debt collector, both of which are federally

 mandated requirements of debt collectors pursuant to the FDCPA.

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337 and 15

 U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here and

 Defendant does business in this District.
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                                      PARTIES

         3.   Plaintiff, JOAN CIMO, is a natural person, and a citizen of the State

 of Florida, residing Broward County, Florida.

         4.   Defendant AMERICAN CORADIUS INTERNATIONAL, LLC

 (“Defendant”), is a licensed consumer collection agency per Fla. Stat. § 559.553

 and a foreign limited liability company primarily operating from offices located in

 Amherst, New York.

         5.   Defendant regularly uses the telephone in a business, the principal

 purpose of which is the collection of consumer debts.

         6.   At all times material to the allegations of this complaint, Defendant

 was acting as a debt collector with respect to the collection of Plaintiff’s alleged

 debt.

         7.   With respect to the “Congressional findings and declaration of

 purpose” portion of the FDCPA, The United States Congress has declared at 15

 U.S.C. § 1692:

              (a) Abusive practices
              There is abundant evidence of the use of abusive, deceptive, and
              unfair debt collection practices by many debt collectors. Abusive debt
              collection practices contribute to the number of personal bankruptcies,
              to marital instability, to the loss of jobs, and to invasions of individual
              privacy.

              (b) Inadequacy of laws
              Existing laws and procedures for redressing these injuries are
              inadequate to protect consumers.

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                            FACTUAL ALLEGATIONS

        8.    Defendant sought to collect an alleged consumer debt from Plaintiff;

 upon information and belief, the subject debt concerned Plaintiff’s credit card,

 which she used to purchase consumer goods, such as groceries, clothing, and

 travel-related expenses.

        9.    Over the past year, Defendant called Plaintiff’s cellular telephone line

 on multiple occasions in an effort to collect the aforementioned debt; the telephone

 calls from Defendant left a voicemail message, which was subsequently heard by

 Plaintiff.

        10.   Defendant called Plaintiff and left at least one message, which stated

 the following:


        My name is Peter Giamatti - please have Joan Cimo call me today at
        1-800-761-0052. Joan will also need to refer to reference number
        4516966 when returning the call. We are available until 9 o’clock
        p.m. Eastern Standard Time today – and will re-open tomorrow at 8
        o’clock a.m. Eastern Standard Time for your convenience. Thank
        you.


        11.   The telephone messages are “communications” as defined by 15

 U.S.C. § 1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-

 60660-Civ-Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla.

 Oct. 31, 2008).




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       12.    The voicemail messages failed to properly disclose that Defendant is a

 debt collector in violation of 15 U.S.C § 1692e(11). Foti v. NCO Financial

 Systems, Inc., 424 F.Supp.2d 643 (S.D.N.Y. 2006); Belin v. Litton Loan Servicing,

 2006 U.S. Dist. LEXIS 47953 (M.D. Fla. 2006); Leyse v. Corporate Collection

 Servs., 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       13.    Defendant failed to disclose the purpose of the communication when

 the true purpose behind the call was to collect a debt from Plaintiff. See generally,

 Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982);

 Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       14.    The FDCPA has been construed by Federal Courts as a strict liability

 statute that is to be construed liberally so as to effectuate its remedial purpose. See

 generally, LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. March 30,

 2010); Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir. 1996).

       15.    Federal Courts have held that the failure to properly identify oneself

 as a debt collector in a voicemail message left on an answering machine or state

 that a voicemail message was left as an attempt to collect a debt constituted a valid

 claim under the FDCPA. Anchondo v. Anderson, Crenshaw & Associates, LLC,

 583 F.Supp.2d 1278 (D. New Mexico 2008); Edwards v. Niagara Credit Solutions,

 Inc., 2009 U.S. App. LEXIS 22500 (11th Cir. 2009).

                            COUNT I
        FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

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       16.    Plaintiff incorporates Paragraphs 1 through 15.


       17.    Defendant’s voicemail messages failed to disclose to Plaintiff that it

 was a debt collector in violation of 15 U.S.C § 1692e(11). See Chalik v. Westport

 Recovery Corp., 677 F.Supp.2d 1322 (S.D. Fla. October 30, 2009) (holding that

 debt collectors leaving voicemail messages requesting a return phone call on a

 consumer debt are subject to the requirements of 15 U.S.C § 1692e(11))


       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:


              a.    Damages;


              b.    Attorney’s fees, litigation expenses and costs of the instant suit;

                    and

              c.    Such other or further relief as the Court deems proper.

                            COUNT II
             FAILURE TO MAKE MEANINGFUL DISCLOSURE

       18.    Plaintiff incorporates Paragraphs 1 through 15.

       19.    Defendant placed telephone calls to Plaintiff without making a

 meaningful disclosure of the true purpose behind Defendant’s communications in

 violation of 15 U.S.C §1692d(6). See Valencia v. The Affiliated Group, Inc., Case




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 No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008 (S.D. Fla.

 September 23, 2008).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

 Dated this 14th day of March, 2012.


                                           SCOTT D. OWENS, ESQ.
                                           664 E. Hallandale Beach Blvd.
                                           Hallandale, Florida 33009
                                           Telephone: 954-589-0588
                                           Facsimile: 954-337-0666
                                           scott@scottdowens.com


                                           By:/s/ Scott D. Owens
                                           Scott D. Owens, Esq.
                                           Florida Bar No. 0597651




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